 Case: 1:16-cv-08067 Document #: 24 Filed: 03/30/17 Page 1 of 9 PageID #:57




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

GLENDA SHORTER THOMAS
                                                      Case No. 16-cv-08067
                        Plaintiff,

v.                                                    Honorable Judge Edmund Chang

CITY OF CHICAGO,

                        Defendant.

                                AMENDED COMPLAINT

NOW COMES Plaintiff, GLENDA SHORTER THOMAS, by and through her attorneys
LAD LAW GROUP, P.C., and for her Amended Complaint against the CITY OF
CHICAGO, states as follows:

                                PARTIES AND JURISDICTION

     1. Plaintiff GLENDA THOMAS is a citizen of the United States of America, and a

        citizen and resident of Chicago, County of Cook, Illinois.

     2. Defendant CITY OF CHICAGO is a body corporate and politic, with offices

        located in, and doing business in the City of Chicago, County of Cook, Illinois.

     3. At all relevant times, Plaintiff was an “employee” of Defendant as that term is

        defined in 42 U.S.C. § 2000(e)(f).

     4. At all relevant times, Defendant was an “employer” of Plaintiff as defined in 42

        U.S.C. § 2000(e)(b).

     5. This is an action for damages for sex discrimination in violation of Title VII of

        the Civil Rights Act of 1964, 42 U.S.C. § 2000, et seq., and for Retaliation.
                                             1
Case: 1:16-cv-08067 Document #: 24 Filed: 03/30/17 Page 2 of 9 PageID #:57




 6. This Court has jurisdiction to hear this Complaint pursuant to 28 U.S.C. §1331,

     and §1343.

                                      FACTS

 7. Plaintiff is female.

 8. Plaintiff began working for Defendant on or about September 16, 2013, as a

     Station Laborer at Defendant’s Department of Water’s South Plant.

 9. Plaintiff underwent training at the start of her position as Station Laborer, and

     successfully completed all training requirements.

 10. She met or exceeded Defendant’s legitimate expectations. She was not written up

     or counseled regarding her performance.

 11. As a Station Laborer, Plaintiff’s main job duties included, but were not limited to,

     working in the “basins”. Basins were located approximately 64-65 feet

     underground, contained sporadic holes in them, and were dimly lit.

 12. The basins were considered a dangerous area to work, as an employee could fall

     down the holes, into a pit and injure themselves, and/or could get sucked in by a

     water pump.

 13. Overtime pay was consistently available to Station Laborers, and Plaintiff worked

     approximately 25-30 hours of overtime per pay period.

 14. Approximately two months after she began working as a Station Laborer,

     Plaintiff’s supervisor at the time, Anton Glenn, began subjecting Plaintiff, along

     with another female co-worker, Pamela Littlejohn, to sexual harassment, and a

     hostile work environment.



                                          2
Case: 1:16-cv-08067 Document #: 24 Filed: 03/30/17 Page 3 of 9 PageID #:57




 15. In approximately November 2014, Glenn verbally attacked Plaintiff and

     Littlejohn, and berated them for allegedly being unable to handle a hose during

     their shift.

 16. Glenn approached Plaintiff and Littlejohn, and complained that they were not

     holding the hose properly, and said, “hold it like you hold a dick.”

 17. At or around the same time, on another occasion, Glenn told both Plaintiff and

     Littlejohn that he did not want to work with them because they were women, and

     women could not do the job. Glenn frequently repeated this statement to Plaintiff

     and Littlejohn throughout their employment.

 18. Glenn also frequently said to Plaintiff and Littlejohn, that they didn’t want to

     work, and only wanted to sit on their “lazy ass” all day.

 19. In November 2014, Plaintiff told Glenn that she was filing a claim of sexual

     harassment against him.

 20. To circumvent Plaintiff’s complaint, Glenn went to his supervisor, Chief Gerzon,

     to make a complaint about Plaintiff.

 21. In November 2014, Gerzon called a meeting with Plaintiff. During the November

     2014 meeting, Plaintiff complained to Gerzon regarding Glenn’s sex based

     harassment of her and Littlejohn.

 22. Plaintiff also told Gerzon that she was afraid of Glenn, and that he frequently

     yelled at her, and cursed her, referring to her as “mother fucker” and “your mother

     fucking ass”, and that he (Glenn) did not treat male employees in the same

     manner.

 23. Gerzon replied that he would tell Glenn to “stop.”

                                            3
Case: 1:16-cv-08067 Document #: 24 Filed: 03/30/17 Page 4 of 9 PageID #:57




 24. Later during the meeting, Gerzon summoned Glenn into the meeting, over

     Plaintiff’s objection.

 25. When Glenn arrived in the meeting, he did not deny Plaintiff’s allegations.

 26. Gerzog responded by telling Glenn that he “could not do that” to Plaintiff.

 27. Glenn then stated, “while she’s here, I’m gonna give her shitty jobs.”

 28. Following the meeting, Plaintiff was to ride back to her assignment with Glenn.

     Glenn however, refused to allow Plaintiff to ride with him, and told her she would

     have to walk. Plaintiff’s assignment was over a half a mile away. It was between

     30 to 40 degrees outside, and Plaintiff was not wearing a coat.

 29. In approximately December 2014, Glenn called Plaintiff on her personal cell

     phone and urged her to drop her complaint against him. Plaintiff refused his

     request.

 30. In approximately January/February 2015, Glenn approached Plaintiff and told her

     that he use to host orgy parties, and that if he were still hosting, Plaintiff would be

     his “side-hoe”, running the orgy parties with him.

 31. He then stated “with that lipstick and big breasts, I would have made a lot of

     money off of you.”

 32. On at least two occasions thereafter, Glenn mentioned orgy parties to Plaintiff,

     and told her he wished she would have come.

 33. In May 2015, Glenn told Plaintiff that another male employee liked her, and that

     if she liked him, she should give him a blow job, to get whatever she wanted from

     him.



                                           4
Case: 1:16-cv-08067 Document #: 24 Filed: 03/30/17 Page 5 of 9 PageID #:57




 34. Also in approximately May 2015, while Plaintiff was eating peanuts in the

     lunchroom, Glenn approached her and said, “I see you like nuts in your mouth.”

 35. At or around that same time, Plaintiff was eating a banana, and Glenn starred at

     Plaintiff uncomfortably, and would not look away. It made Plaintiff so

     uncomfortable, that she could not finish eating her lunch that, and no longer

     wanted to eat at the lunch table with other coworkers.

 36. In approximately June 2015, when discussing overtime availability with Plaintiff,

     Glenn stated, “you don’t want to work overtime because your ass is a money

     maker”, and suggesting that Plaintiff “sell herself” to make extra money.

 37. In July 2015, on information and belief, Glenn changed Plaintiff’s work schedule

     so that she could work alone with him in the basin.

 38. On or about July 8, 2015, Plaintiff submitted an Incident Report to Defendant

     regarding Glenn, and also made a claim of sex discrimination and harassment to

     Defendant’s EEO department.

 39. Defendant transferred Plaintiff to a different supervisor, Steve Moore, and

     changed her job to a Custodian.

 40. As a custodian under Moore, Plaintiff was not allowed to work any overtime.

 41. However, other employees, who had not engaged in protected activity of

     opposing unlawful discrimination, were allowed to work overtime.

 42. In addition, Moore spoke to Plaintiff in an aggressive, demeaning tone, not used

     with other employees.

 43. Approximately one week after her transfer, Glenn made threats to Plaintiff

     stating, “you’re not going to get away with this”. In addition, he told other

                                          5
Case: 1:16-cv-08067 Document #: 24 Filed: 03/30/17 Page 6 of 9 PageID #:57




     employees not to speak to Plaintiff, because she could not be trusted, and she had

     “knives in [his] back.”

 44. On two occasions since then, Plaintiff has seen Glenn outside of work while

     driving her vehicle. On each occasion, he has blown his horn at Plaintiff, and

     starred at her in an intimidating manner, causing Plaintiff fear and anxiety.

 45. Plaintiff reported each of these instances in Paragraphs 40-44 above, to

     Defendant’s EEO department.

 46. Defendant took no action, and Plaintiff continued suffer harassment, retaliation,

     and a hostile work environment.

 47. Because of Defendant’s actions, Plaintiff suffered severe stress and anxiety,

     causing her to be hospitalized, and to have to take medication to just to be able to

     work.

 48. Defendant’s action/inactions caused Plaintiff lost wages, and emotional distress

     damages.

 49. On August 31, 2015, Plaintiff filed a Charge of Discrimination with the Equal

     Employment Opportunity Commission (“EEOC”) alleging race discrimination,

     gender discrimination, and retaliation. (See Exhibit A, attached hereto).

 50. On July 20, 2016, the EEOC issued Plaintiff a Right To Sue Letter. (See Exhibit

     B, attached hereto).

 51. Plaintiff timely filed her Complaint on August 12, 2016. [dkt. 1]

                                 COUNT I
                TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                        GENDER DISCRIMINATION



                                           6
 Case: 1:16-cv-08067 Document #: 24 Filed: 03/30/17 Page 7 of 9 PageID #:57




   52. Plaintiff repeats and realleges Paragraphs 1-51, as though fully set forth herein, as

       Paragraphs 1-51 of Count I of this Complaint.

   53. Plaintiff is female.

   54. Plaintiff performed her job duties satisfactorily. Prior to Defendant’s

       discriminatory conduct, Plaintiff was never written up or disciplined regarding her

       performance.

   55. Plaintiff experienced adverse employment actions, as set forth herein this

       complaint, including disparate treatment compared to male employees, and sexual

       harassment.

   56. Similarly-situated, male employees were treated more favorably than Plaintiff, as

       they were not subject to the same adverse employment actions as Plaintiff has set

       forth herein this complaint.

   57. As a result of Defendant’s discriminatory conduct, Plaintiff has suffered

       pecuniary loss, and emotional damages, as set forth herein.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court find that

Defendant engaged in discriminatory conduct against Plaintiff, and enter a judgment in

favor of Plaintiff, making the following findings and granting the following relief:

       A.      That this Honorable Court find that Defendant discriminated against

Plaintiff on the basis of her gender;

       B.       That this Honorable Court award Plaintiff money reasonably calculated to

compensate her lost wages, and for all monetary damages sustained as a result of the

discrimination by Defendant;

       C.      That this Honorable Court award pre-judgment interest and costs;

                                             7
 Case: 1:16-cv-08067 Document #: 24 Filed: 03/30/17 Page 8 of 9 PageID #:57




       D.      That this Honorable Court award reasonable attorney’s fees and costs

pursuant to 42 U.S.C. §1988; and

       E.      That this Honorable Court award any further relief as it may deem just and

equitable.

                                 COUNT II
                 TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                                  RETALIATION


   58. Plaintiff repeats and realleges Paragraphs 1-57, as though fully set forth herein, as

       Paragraphs 1-57 of Count II of this Complaint.

   59. Plaintiff engaged in the protected activity of opposing unlawful treatment by

       complaining of gender discrimination and sexual harassment, to Glenn, to

       Gerzon, and to Defendant’s EEO Department.

   60. Subsequently, Plaintiff suffered adverse employment actions, including

       termination.

   61. A causal connection existed between Plaintiff’s complaints, and the retaliatory

       conduct she experienced thereafter, as the sexual harassment and disparate

       treatment escalated after Plaintiff’s complaints.

   62. As a result of Defendant’s retaliatory conduct, Plaintiff has suffered pecuniary

       loss, and emotional damages, as set forth herein.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court find that

Defendant engaged in retaliatory conduct against Plaintiff, and enter a judgment in favor

of Plaintiff, making the following findings and granting the following relief:

       A.      That this Honorable Court find that Defendant retaliated against Plaintiff

for complaining of discriminatory treatment;
                                            8
 Case: 1:16-cv-08067 Document #: 24 Filed: 03/30/17 Page 9 of 9 PageID #:57




       B.      That this Honorable Court award Plaintiff money reasonably calculated to

compensate his lost wages, and for all monetary damages sustained as a result of the

discrimination by Defendant;

       C.     That this Honorable Court award pre-judgment interest and costs;

       D.     That this Honorable Court award reasonable attorney’s fees and costs

pursuant to 42 U.S.C. §1988; and

       E.     That this Honorable Court award any further relief as it may deem just and

equitable.



                                                    Respectfully submitted,

                                                    By: /s/ Jemelle D. Cunningham
                                                             Plaintiff’s Attorney
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                                            9
